8:09-cr-00287-LES-TDT          Doc # 136    Filed: 08/27/10       Page 1 of 1 - Page ID # 793




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )               Case No. 8:09cr287
                      Plaintiff,           )
                                           )
              vs.                          )               ORDER TO WITHDRAW
                                           )                   EXHIBITS
YER YANG,                                  )
                                           )
                      Defendant.           )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for parties are ordered to

withdraw the following exhibits previously submitted in this matter within 14 calendar days

of the date of this order:


       Government’s Exhibits Nos. 1 - 3 - Motion Hearing - October 13, 2009



       If counsel fail to withdraw these exhibits as ordered, counsel will be ordered to show

cause why sanctions should not be imposed.

       IT IS SO ORDERED.

       DATED this 27th day of August, 2010.



                                           s/ Lyle E. Strom
                                           United States District Judge




                                    proc\Exhibits\Form-Order to Withdraw Appeal Time Pending.wpd
                                                                                  Approved 02/15/07
